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              EXHIBIT 5
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                      1N THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:                                              )       Chapter 11
                                                    )
W. R. GRACE & CO., et al.,                          )       Case Nos. 01-1139 through 01-1200
            Debtors.                                )
                                                    )
                                                    )
OFFICIAL COMMITTEE OF ASBESTOS                      )
PERSONAL INJURY CLAIMANTS and                       )
OFFICIAL COMMITTEE OF ASBESTOS                      )
PROPERTY DAMAGE CLAIMANTS OF                        )
W. R. GRACE & CO., suing in behalf of the           )
Chapter 11 Bankruptcy Estate ofW. R.                )
GRACE & CO., et al.,                                )
                                                    )
                Plaintiffs,                         )
                                                    )
         -against-                                  )       Adv. No. 02-
                                                    )
                                                    )
                                                    )
                                                    )
FRESENIUS MEDICAL CARE HOLDINGS,                    )
INC. and                                            )
NATIONAL MEDICAL CARE, INC.                         )
                                                    )
                Defendants.                         )


                                       ORIGINAL COMPLAINT

         Plaintiffs, by their attorneys, McKool Smith, P.C., Caplin & Drysdale, Chartered, Bilzin

Sumberg Dunn Baena Price & Axelrod LLP, Campbell & Levine, and Ferry, Joseph & Pearce,

P.A. allege for their complaint, on knowledge as to their own acts, and on information and belief

as to all other matters, as follows:




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                                 NATURE OF THE ACTION

       1.     This is an action to set aside fraudulent transfers by W.R. Grace & Co.-Conn.

("Grace-Conn."). Various businesses owned and operated by Grace-Conn. manufactured and

sold asbestos products. Those products have been responsible for severe personal injuries and

tens of thousands of deaths. As a result, Grace-Conn. is a defendant in thousands of lawsuits

(now stayed) filed by individuals and survivors of individuals exposed to its asbestos products.

Grace-Conn. also faces extensive liabilities for asbestos property damage, and is a defendant in

state and national class actions (also currently stayed) alleging liability for an attic insulation

product containing asbestos known as "Zonolite."

       2.      The alleged fi’andulent transfers that are the subject of this action involve the

transfer by Grace-Conn. in 1996 of one of its most valuable and profitable operating businesses,

National Medical Care, Inc. (the "Health Care Business" or "NMC") to its then parent, W.R.

Grace & Co., n/kJa Fresenius Medical Care Holdings, Inc. ("Fresenius" or "Grace-1996"), for

wholly inadequate and insufficient consideration (collectively the "Transfers").

       3.      The Transfers were calculated to place the value of the Health Care Business

b£yond the reach of Grace-Conn.’s asbestos victims and other creditors.

       4.      On April 2, 2001, W.R. Grace & Co., f/k/a W.R. Grace Specialty Chemicals Inc.

("Grace") and Grace-Conn. were two of a number of related debtors that filed a voluntary

petition for reorganization under chapter 11 of title 11 of the United States Code. The

reorganization cases are referred to herein as the "Bankruptcy Cases," and title 11 is referred to




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as the "Bankruptcy Code". No trustee has been appointed in the Bankruptcy Cases, and the

debtors, including Grace-Conn., continue to manage their property as debtors-in-possession

pursuant to 11 U.S.C. § 1107.

                                JURISDICTION AND VENUE

               This Court has jurisdiction of this action pursuant to 28 U.S.C. §§ 1331 and

1334(b).

       6.      Venue lies in this District pursuant to 28 U.S.C. §§ 1391(b) and 1409(c).

                                            pARTmS
       7.      Plaintiffs, the Official Committee of Asbestos Personal Injury Claimants and the

Official Committee of Asbestos Property Damage Claimants of Grace ("Plaintiffs" or the

"Asbestos Committees"), are committees of creditors appointed by the United States Trustee

pursuant to 11 U.S.C. § 1102(a). The Asbestos Committees are made up of persons and entities

that assert tort claims against Grace and Grace-Conn. by reason of personal injuries, wrongful

death or property damage caused by asbestos-containing products.

       8.      Pursuant to its "Order re Fraudulent Conveyance Proceedings" (the "Authorizing

Order"), this Court has authorized the Asbestos Committees, as representatives of Grace’s

bankruptcy estate, to prosecute and enforce any and all claims arising from the Transfers.

       9.      The Asbestos Committees bring this action pursuant to 11 U.S.C. §544(b) and

other applicable law for the purpose of avoiding the Transfers, recovering the property

transferred or the value of such property for the benefit of the debtors’ estates and creditors, and

subjecting defendants to liability for asbestos claims against the debtors.




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        10. Defendant Fresenius Medical Care Holdings, Inc. ("Fresenius" or "Grace-1996")

is a New York corporation with its principal place of business in Lexington, Massachusetts.

        11. Defendant National Medical Care, Inc. ("NMC") is a Delaware corporation with

its principal place of business in Lexington, Massachusetts.

                                  FACTUAL ALLEGATIONS

       Asbestos Disease and Litigation


        12. Experts estimate that at least 21 million American workers have been exposed to

"significant" amounts of asbestos at the workplace since 1940. Millions of others have been

exposed through environmental contact or contact with relatives who have worked with the

products. Because of the toxic effects of asbestos exposure, literally tens of thousands of people

fall ill or die from asbestos-related diseases every year. In legal terms, asbestos exposure has

translated into hundreds of thousands of lawsuits.

        13. Asbestos litigation has been on going for four decades, and as a result of this

litigation numerous companies have been forced into bankruptcy. Raymark Industries, Forty-

Eight Insulations, Unarco, Standard Asbestos, Johns-Manville Corporation, Eagle-Picher

Industries, and Celotex Corporation, just to name a few, all declared bankruptcy due to asbestos

liability prior to the Transfers. Prior to 1996, the risks and liabilities associated with asbestos

were widely known and served as the incentive and motivation for the Transfers.

       The Transfers~ Lack of Reasonably Equivalent Value

       14. Prior to the Transfers, Grace-1996 was a publicly traded corporation, owning as

its sole asset 100% of the stock of Grace-Conn. Grace-Conn., in turn, was an operating company




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with divisions engaged in, among other things, construction and performance chemicals, can

sealants, packaging and the Health Care Business.

        15. The value of all of these businesses was available to satisfy the claims of all

persons and entities who had demanded or would demand in the future compensation for

personal injuries, wrongful death, or property damage attributed to asbestos or asbestos-

containing products. (This Complaint refers to such persons as "Asbestos Claimants" and to

their asbestos-related claims as "Asbestos Claims".)

        16. Not later than 1996, Grace-1996 and its management embarked on a plan and

course of conduct to "enhance shareholder value" by systematically stripping Grace-Conn. of

valuable assets and placing those assets beyond the reach of Asbestos Claimants, thereby

enriching the parent company and its public stockholders at the expense of such creditors. After

the Transfers, in 1998, Grace-Conn. was divested of its packaging business in a transfer and

spin-off pursuant to the continuing plan and course of conduct. The Transfers related to the

Health Care Business are the focus of the instant Complaint.~

         17. The Health Care Business was a profitable and valuable business at the beginning

of 1996. It contributed significantly to Grace-Conn.’s revenues and profits, and was viewed in

the market place as one of the substantial contributors to Grace-1996’s stock value.

         18. In September, 1996, Grace-1996 consummated the Transfers that were designed

to "free" the Health Care Business from the taint of Grace-Conn.’s asbestos liabilities, and thus



i Plaintiffs have also filed an action against Sealed Air Corporation, f/k/a W.R. Grace & Co., to set aside a
fraudulent transfer by Grace-Conn. in 1998 of Grace-Conn.’s former packaging subsidiary, Cryovac, Inc. (the
"Sealed Air Transfer").




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enable Grace-1996’s stockholders to realize significant excess value and returns at the expense

and to the detriment of Grace-Conn.’s creditors.

       19. The Transfers proceeded as follows:

                      Before the transactions, NMC was a wholly owned subsidiary of Grace-

       Conn., which in turn was a wholly owned subsidiary of the parent company, Grace-1996.

                      Grace-1996 caused Grace-Conn. to contribute the stock of NMC to its

       parent Grace-1996, thus making Grace-Conn. and NMC wholly owned subsidiaries of

       Grace-1996. At the time of the Transfers, the NMC stock had a fair value in excess of $4

       billion.

                      In purported exchange for the Transfers, Grace-1996 caused NMC to

       borrow the approximate sum of $2.263 billion that NMC contributed as a "dividend" to

       Grace-Conn. (the "Dividend").

                      Grace-1996 then caused Grace-Conn. to use the Dividend, in part, to pay

       various obligations, including debts related to the business of NMC.

                      Grace-1996 then transferred the stock of Grace-Conn. to a newly formed

       subsidiary, Grace Holding Company, Inc. ( "Grace- 1998");

                      Grace-1996 then spun off to its shareholders the new subsidiary, Grace-

       1998, as a totally separate company. Grace-1998 then changed its name to "W.R. Grace

       & Co."

                      The preceding transactions left Grace-1996 with NMC as its sole asset.

       Grace-1996 then merged with a New York. subsidiary of Fresenius Medical Care AG, a

       German company, with Grace-1996 as the surviving company. Grace-1996, the merged




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       entity, was renamed Fresenius Medical Care Holdings, Inc ("Grace 1996" or

       "Fresenius"). In connection with the merger, the shares of Grace-1996 prior to the merger

       were cancelled and Grace 1996’s shareholders effectively received 44.8% of the

       ownership (through American Depositary Receipts) of Fresenius Medical Care, AG

       ("Fresenius AG").

       20. The distribution of the stock of post-merger Grace-1996 between the shareholders

of pre-merger Grace-1996 and the shareholders of Fresenius AG was based on valuations

performed by financial advisors for Grace-1996 that valued the business of NMC on a stand-

alone basis from approximately $ 3.15 billion to approximately $ 4 billion.

       21. Prior to the Transfers, Grace-1996 received a public offer from Baxter Health

Care for the acquisition of NMC that was valued at $3.8 billion.


       22. As a result of the Transfers, Grace-Conn. was stripped of assets worth no less than

$3.15 billion and as much as $4 billion or more. Grace-Conn. received a $2.263 billion dividend

from NMC and Grace-Conn. was left with full responsibility for liabilities to Asbestos Claimants

who would otherwise have had recourse to the value of NMC.

       23. Not surprisingly, Grace-1996 acknowledged in its 1996 S-4 that the Transfers

might constitute a fraudulent transfer in a section entitled "Fraudulent Transfer and Related

Considerations":

                      "Under applicable law, the NMC Distribution would
                      constitute a ’fraudulent transfer’ if (a) New Grace or Grace
                      Chemicals is insolvent, (b) the effect of the NMC
                      Distribution would render New Grace or Grace Chemicals
                      insolvent, (c) the NMC Distribution would leave New
                      Grace or Grace Chemicals unreasonably small capital, or
                      (d) New Grace or Grace Chemicals intended to incur, or




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                     believed it would incur, debts beyond its ability to pay as
                     such debts mature... Grace believes that, based on the
                     factors considered in connection with the NMC
                     Distribution, the NMC Distribution will not be a fi’audulent
                     transfer and will be made out of surplus in accordance with
                     applicable law. There is no certainty, however, that a court
                     would reach the same conclusion in determining that New
                     Grace and Grace Chemicals have satisfied the applicable
                     standards. In this regard, it should be noted that Grace
                     Chemicals has had, and is expected to continue to have
                     significant liabilities arising out of asbestos-related
                     litigation and claims... If, in a lawsuit filed by an unpaid
                     creditor or a representative of unpaid creditors or a trustee
                      in bankruptcy, a court were to find that, at the time the
                     NMC Distribution was consummated or after giving effect
                     thereto, either New Grace or Grace Chemicals, as the case
                      may be, (a) was insolvent, (b) was rendered insolvent by
                      reason of the NMC Distribution, (c) was engaged in a
                      business or transaction for which its remaining assets
                      constituted unreasonably small capital, or (d) intended to
                      incur, or believed it would incur, debts beyond its ability to
                      pay as such debts mature~d, then such court might require
                      FNMC or NMC to fund certain liabilities of New Grace or
                      Grace Chemicals, as the case may be, for the benefit of
                      New Grace’s or Grace Chemicals’ creditors. The same
                      consequences would also apply were a court to find that the
                      NMC Distribution was not made out of the surplus of
                      Grace Chemicals."

1996 S-4, p. 29.

       24.    Grace-1996 represented that the newly formed Grace-1998 would be adequately

capitalized and claimed that the Transfers were not fraudulent. Yet, Grace-1996 admitted in its

SEC filing that "there is no certainty, however, that a court would reach the same conclusion."

1996 S-4, p. 29.

       Grace-Conn.’s Asbestos Liabilities and Insufficient Reserves

       25.    As of the date of the Transfer, it was obvious that Grace-Conn. faced tremendous

exposure as a result of its asbestos liabilities. Grace-1998’s consolidated accrual for asbestos




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liabilities at December 31, 1996, was $994.1 million. Grace-1998 Form 10-K dated December

31, 1996, p. 10 (the "1996 10-K"). This reserve took into account the pending asbestos-related

personal injury and property damage claims as well as asbestos-related personal injury claims

expected to be filed through 2001, but simply ignored all Asbestos Claims expected to be filed

thereafter. The reserve grossly understated the extent of Grace-Conn.’s actual asbestos liabilities.

       26. Indeed, according to the Grace Form 10-K filed with the SEC on April 2, 2001

(the "2001 10-K), as of December 31, 2000, Grace-Conn. was a defendant in approximately

61,395 asbestos related lawsuits, involving 124,907 claims for personal injury.

       27. In that same Form 10-K, Grace noted that judgments had been entered against it

in seven (7) asbestos-related property damage lawsuits for a total of $60.3 million and that it had

settled 53,607 asbestos-related persona/injury lawsuits for a total of approximately $1.25 billion.

It also increased its accrual for asbestos liabilities as of December 31, 2000 to $1.1 billion,

notwithstanding its payment of in excess of $500 million in judgments and settlements since its

December, 1996 estimate. Grace’s reserve, moreover, did not take into account a certified class

action filed on behalf of all owners of homes containing Grace-Conn.’s Zonolite Attic Insulation

in the State of Washington and a multi-district national class action filed against it that are

pending in the federal district court of Massachusetts.

       28. At the time of the Transfers, or as a result of the carrying out of the Transfers,

Grace-Conn. was insolvent by reason of its massive liabilities if its Zonolite liability was of the

order of magnitude alleged in the litigation now pending.

       The Asbestos Committees are Armed with All Causes of Action
       Belon~in~ to Grace Conn. and All Avoidance Powers Derived
       From its Creditors




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       29. Pursuant to the Authorizing Order, the Asbestos Committees have standing to

prosecute and enforce all claims belonging to pre-petition Grace-Conn. arising from the

Transfers. Pursuant to the Authorizing Order and the strong-arm powers inhering in the debtor-

in-possession (~ee 11 U.S.C. §§ 544(b), 1107(a)), the Asbestos Committees also have standing

to assert the rights of any and all creditors of Grace-Conn. to avoid the Transfers.

       30. For purposes section544(b) of the Bankruptcy Code and applicable law

governing transfers by debtors, the Asbestos Claimants were all creditors of Grace-Conn.

regardless of whether their respective claims were matured or unmatured, liquidated or

unliquidated, absolute, fixed or contingent.

       31. Pursuant to section 544(b) of the Bankruptcy Code, plaintiffs "may avoid any

transfer of an interest of the debtor in property or any obligation incurred by the debtor that is

voidable under applicable law by a creditor holding an unsecured claim that is allowable under

section 502 of this title [title 11 of the United States Code] ...." 11 U.S.C. § 544(b). There exist

one or more unsecured creditors holding an allowable claim within the meaning of section

544(b) who, subject only to the automatia stay of bankruptcy, have the right to avoid the Transfer

under applicable nonbankruptcy law, including but not limited to the Uniform Fraudulent

Conveyance Act as in force in several States, the Uniform Fraudulent Transfer Act as in force in

the majority of States, and subchapter D of chapter 76 of the United States Code, 28 U.S.C.

§ 3301 e t seq. The Asbestos Committees, as representatives of the bankruptcy estates of Grace

and Grace-Conn., wield here all avoidance rights derived ~om those creditors.

                                               COUNT I

                                 Constructive Fraudulent Transfer

       32. Plaintiffs repeat and reallege the allegations of paragraphs 1 through 31.



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        33. Under applicable law, a transfer is fraudulent as to a present creditor if it was

made by the debtor without receiving a reasonably equivalent value in exchange for the transfer,

and the debtor was insolvent at that time or became insolvent as a result of the transfer.

        34. Grace-Conn. did not receive reasonably equivalent value in exchange for the

Transfers. At the time of the Transfers, Grace-Conn. was insolvent within the meaning of

applicable law, or became insolvent as a result of the Transfers, to the extent that its Zonolite

liabilities are of the range of magnitude alleged in litigation now pending.

       35. Accordingly, the Transfers were fraudulent as to Grace-Conn.’s creditors, without

regard to Grace-Conn.’s actual intent.

                                             COUNT II

                                 Constructive Fraudulent Transfer

       36.     Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 31.


       37.     Under applicable law, a present or future creditor may recover for a transfer made

without receiving a reasonably equivalent value in exchange for the transfer if the remaining

assets of the debtor were unreasonably small in relation to the business or transaction.

       38. At all times from and after the Transfers, Grace-Conn. was engaged in a business

for which the assets left in its hands were unreasonably small to the extent that the Zonolite

claims are in the range of magnitude as alleged in the Bankruptcy Cases.

       39. Accordingly, pursuant to applicable law, the Transfers were fraudulent as to

Grace-Conn.’s creditors, again without regard to Grace-Conn.’s actual intent.

                                            COUNTIH




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                                    Constructive Fraudulent Transfer

          40.   Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 31.

          41.   Under applicable law, a present or future creditor may recover for a transfer made

without receiving a reasonably equivalent value in exchange for the transfer if the debtor

believed or reasonably should have believed that it would incur debts beyond its abitity to pay as

they became due.

          42. When Grace-Conn. made the Transfers, it believed, or reasonably should have

believed that it would incur debts beyond its ability to pay as they mature based on its knowledge

of the continuing plan to divest Grace-Conn. assets, and what it knew, or should have known, of

the underlying facts and circumstances giving rise to the increased asbestos claims, including

Zonolite.

          43. Accordingly, pursuant to applicable law, the Transfers were fraudulent as to

Grace-Conn.’s creditors, again without regard to actual intent.

                                               COUNT IV

                       Transfer Made With Intent to Hinder, Delay or Defraud

          44.   Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 3 I.

          45.   Under applicable law, a transfer is fraudulent as to present or future creditors if

the debtor made the transfer with actual intent to hinder, delay or defraud any creditor of the

debtor.

          46. The Transfers were made with actual intent to hinder, delay, or defraud present

and future creditors of Grace-Conn., including the Asbestos Claimants. In each Transfer, the

transferee shared in that intent.




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        47.   Such intent is apparent from, inter aBa, the direct and natural consequence of the

Transfers in prejudicing the rights of Asbestos Claimants by means of the unjust diminution in

the property of Grace-Conn., and from the following "badges of fraud": (i) The Transfers were

to insiders; (ii) the public stockholders of Grace-1996 retained indirect ownership of the

transferred property before and after the Tranfers; (iii) the Transfers and the role of various

entities in connection therewith were obscured by the inordinately complex steps by which the

scheme was carried out, including without limitation the proliferation of entities named "W.R.

Grace & Co." and the renaming of Grace-1996 as "Fresenius Medical Care Holdings, Inc."; (iv)

before the Transfers were made, Grace-Conn. and affiliates had been sued in tens of thousands of

asbestos-related cases and expected to be sued in tens of thousands of additional asbestos-related

cases in the future; (v) the value of the consideration received by Grace-Conn. in the Transfers

was not reasonably equivalent to the value of the property transferred; and (vi) Grace-Conn. was

insolvent at the time of the Transfers or became insolvent shortly thereafter to the extent that the

Zonolite liabilities are of the order of magnitude as alleged in litigation now pending.

       48. Accordingly, pursuant to applicable law, the Transfers were fraudulent as to

Grace-Conn.’s creditors.

                                            COUNT V

                                        Successor Liability

       49.     Plaintiffs repeat and reallege all &the allegations of paragraphs 1 through 31.

       50.     The Transfers and related steps were undertaken for the fraudulent purpose of

escaping Asbestos Claims.




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       51. There is no just reason to respect the integrity of the Transfers or related steps.

On the contrary, respecting such transactions would unjustly elevate form over substance and

allow the improper purpose of these transactions to succeed by placing assets of Grace-Conn.

beyond the reach of Asbestos Claimants.

       52. Accordingly, Fresenius and NMC have succeeded by operation of law to

unlimited liability for Asbestos Claims against Grace-Conn. or Grace.

                                          COUNT VI

                                   Piercing the Corporate Veil

       53. Plaintiffs repeat and reatlege all of the allegations of paragraphs 1 through 31.

       54. In the Transfers and related steps, Grace-Conn. and NMC were subject to Grace-

1996’s pervasive domination and control. Grace-Conn., and NMC lacked any separate mind,

will or existence of their own, and acted as the mere instrumentalities, agents and alter egos of

Grace-1996.

       55. The Transfers were effectuated for the fraudulent and improper purpose of

knowingly and intentionally enhancing the interests of Grace-1996’s shareholders at the expense

and to the unjust detriment of the Asbestos Claimants.

       56. Grace-Conn., Grace, and Asbestos Claimants who are creditors of those entities

have suffered injury and unjust loss as a proximate result of the misconduct of Grace-1996 and

the wrongful exercise of domination and control in the Transfers and related steps.

       57. In the interest of substantial justice, the corporate veils separating Grace-1996 and

NMC from Grace-Conn. and Grace should be pierced and disregarded, and Defendants should be

subjected to unlimited liability for the Asbestos Claims against Grace-Conn. or Grace.




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                                            CO_____~ VII
                                     Breach of Fiduciary Duty

       58.     Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 31.

       59.     As the sole shareholder of Grace-Conn., Grace-1996 owed a fiduciary duty to its

subsidiary corporation. As an incident of that fiduciary duty, Grace-1996 bears the burden of

proving that any challenged transaction between itself and Grace-Conn. met the test of good faith

and inherent fairness from the viewpoint of Grace-Conn.

       60. In the exercise of control over Grace-Conn. as the only shareholder of that

corporation, Grace-1996 caused the Transfers to occur.

       61. The Transfers violated Grace-1996’s fiduciary duty and unjustly enriched Grace-

1996, and its successors at the expense of Grace-Conn. and its creditors. Grace-1996 received

the NMC stock Subject to a duty to make full restitution of the value of that property and all

proceeds thereof, and to pay damages to Grace-Conn. to the extent that the value of that property

or its proceeds have been dissipated or re-transferred.

                                            COUNT VIII
                                Avoidance of Transfer to Insiders
                             Received in Breach of Fiduciary Duty

       62. Plaintiffs repeat and reallege the allegations of paragraphs 1 through 31.

       63. At the time of the Transfers, the directors and officers of Grace-1996 were subject

to fiduciary duties toward the creditors of Grace-Conn. because (i) Grace-Conn. was insolvent or

was rendered insolvent by the Transfers, or, in the alternative, (ii) if not actually insolvent

immediately before or immediately after the Transfers, Grace-Conn. was operating in the vicinity




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of insolvency if the Zonolite liability was of the order of magnitude as alleged in litigation now

pending.

           64. The fiduciary duty owed to creditors obligated Grace-Conn. and its officers and

directors to refrain from preferring insiders over unrelated creditors in the disposition of Grace-

Conn.’s property.

           65. The Transfers and related steps violated the applicable fiduciary duty.

           66. By reason of the Transfers, Fresenius has been unjustly enriched.

           67. Having received the proceeds of the Transfers as a direct and proximate result of a

breach of tiduciary duty, Fresenius holds those proceeds subject to a duty to make full restitution

thereof.

                                                C_OUNT x

                                            (Punitive Damages)

           68.    Plaintiffs repeat and reallege all of the allegations of paragraphs 1 through 31.

           69.    In respect of the Transfers and related steps, Fresenius acted in a willful, wanton,

and reckless manner and in callous disregard of the rights of Grace-Conn.’s asbestos victims.

The misconduct rises to such a high level of moral culpability as to justify the imposition of

punitive damages.

                                             PRAYER FOR RELIEF
           WHEREFORE, Plaintiffs demands judgment against Defendants for the benefit of the estates and

creditors of Grace-Corm. and Grace, and pray that the Court grant each of the following remedies:
       a.         avoidance of the Transfer pursuant to 11 U.S.C. § 544(b) or other applicable law;




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              recovery of all stock and assets received by Defendants in the Transfers, or a money

              judgment for the value thereof, pursuant to 11 U.S.C. § 550(a) or other applicable law;
              a money judgment pursuant to 11 U.S.C. § 550(a) or other applicable law for dissipation

              of the transferred property aider the Transfers, including without limitation any decline in
              the value of such property between the time of the Transfers and the time of final

              judgment;
              a money judgment pursuant to 11 U.S.C. § 550(a) or other applicable law for all

              consequential and incidental damages and expenses incurred by Grace-Corm. or Grace
              with respect to, or as a result of, the Transfers;
              a declaratory judgment that Defendants bear unlimited liability as successors to the

              liabilities of Grace-Conn. and Grace for Asbestos Claims;
              a declaratory judgment that the corporate veils separating Grace-1996 and NMC from

              Grace-Conn. and Grace are pierced and disregarded such that Defendants bear unlimited
              liability for Asbestos Claims against Grage-Conn. or Grace;

              an award of purtitive damages according to proof;

              an award of prejudgment interest;
              an award ofreasnnable attorneys’ fees; and

              such other relief as the Court deems just and proper.

                                          JURY TRIAL DEMAND

              Plaintiffs hereby demand a trial by jury for all issues so triable.

Dated:   March 18, 2002                           Respectfully submitted,




                                                  FERRY, JOSEPH & PEARCE, P.A.

                                                 By:/s/Theodore J. Tacconelli
                                                 Theodore J. Tacconelli (No. 2678)
                                                 824 Market Street, Suite 904
                                                 P.O. Box 1351
                                                 Wilmington, Delaware 19899




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                                    (302) 575-1555
                                                 -and-
                                    BILZIN SUMBERG DUNN BAENA
                                    PRICE & AXELROD, LLP
                                    Scott L. Baena
                                    Robert W. Turken
                                    First Union Financial Center
                                    200 South Biscayne Boulevard
                                    Suite 2500
                                    Miami, Florida 33131
                                    Counsel for The Official Committee of
                                    Asbestos Property Damage Claimants
                                                    -and-

                                    CAMPBELL & LEVINE, LLC

                                    By:/s/Matthew G. Zaleski, III _
                                    Matthew G. Zaleski, iII (No. 3557)
                                    1201 N. Market Street, 15th Floor
                                    Wilmington, DE 19801
                                    (302) 426-1900



                                    CAPLIN & DRYSDALE, CHARTERED
                                    Elihu Inselbuch
                                    Rita C. Tobin
                                    399 Park Avenue, 27th Floor
                                    New York, NY 10022
                                    (212) 319-7125



                                    CAPL1N & DRYSDALE, CHARTERED
                                    Peter Van N. Lockwood
                                    Trevor W. Swett
                                    Nathan D. Finch
                                    One Thomas Circle, N.W.
                                    Washington, D.C. 20005
                                    (202) 862-5000

                                    Attorneys for the Official Committee
                                    Of Asbestos Personal Injury Claimants


                                                   -and-



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                                   McKOOL SMITH, P.C.
                                   Lewis T. LeClair
                                   300 Crescent Court, Suite 1500
                                   Dallas, Texas 75201
                                   (214) 978-4000

                                   Proposed Counsel for Plaintiffs




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